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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES                    §
INNOVATIONS, LLC,                               §
                                                §
       Plaintiff,                               §            Case No: 2:15-cv-1875-JRG-RSP
                                                §
vs.                                             §            PATENT CASE
                                                §
FCA US LLC                                      §
                                                §
       Defendant.                               §


                              FIRST AMENDED COMPLAINT

       Plaintiff Rothschild Connected Devices Innovations, LLC (“Plaintiff” or “RCDI”) files

this First Amended Complaint against FCA US LLC (“Defendant” or “Fiat”) for infringement

of United States Patent No. 8,788,090 (hereinafter “the ‘090 Patent”). Plaintiff’s original

Complaint named Fiat U.S.A., Inc. and Fiat North America LLC as defendants. Defendants’

counsel brought it to the attention of Plaintiff’s counsel that the proper defendant is FCA US

LLC. Therefore, this First Amended Complaint is intended to drop Fiat U.S.A, Inc. and Fiat

North America LLC from this lawsuit and add FCA US LLC as the proper defendant.

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at




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1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Defendant FCA US LLC, Inc. is a Delaware

corporation with its principal place of business at 1000 Chrysler Dr., Auburn Hills, MI 48326.

       5.      On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in the state

of Texas, has conducted business in the state of Texas, and/or has engaged in continuous and

systematic activities in the state of Texas.

       6.      On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in the Eastern

District of Texas.

                                               VENUE

       7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendant is deemed to reside in this District. In addition, and in

the alternative, Defendant has committed acts of infringement in this District.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,788,090)

       8.      Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       9.      This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘090 patent with sole rights to

enforce the ‘090 patent and sue infringers.

       11.     A copy of the ‘090 Patent, titled “System and Method for Creating a

Personalized Consumer Product,” is attached hereto as Exhibit A.

       12.     The ‘090 Patent is valid, enforceable, and was duly issued in full compliance



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with Title 35 of the United States Code.

       13.     Upon information and belief, Defendant has infringed and continues to infringe

one or more claims, including at least claim 1, of the ‘090 patent by making, using, importing,

selling, and/or offering for sale a customizable system to remotely control available automobile

functions covered by one or more claims of the ‘090 patent. Defendant has infringed and

continue to infringe the ‘090 patent either directly or through acts of contributory infringement

or inducement in violation of 35 U.S.C. § 271.

       14.     Defendant sells, offers to sell, and/or uses systems, including, without

limitation, the Fiat Access system and the Fiat Access Smartphone App, and related

connectable components, which may operate in connection with these systems, which infringe

at least Claim 1 of the ‘090 Patent. These systems and components allow a user to remotely

customize the operation of various functions in a car, such as heating and ventilation, door

locks, and the like. The user can set preferences through the use of an app which may reside,

for example, on a smart phone. Through a login process, a remote server receives the identity

of the vehicle and the identity of a user, retrieves the user’s preferences, and transmits those

preferences to a communication module within the vehicle.

       15.     Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

       16.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

       17.     Plaintiff is in compliance with 35 U.S.C. § 287.




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                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice

of the order from further infringement of United States Patent No. 8,788,090 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

          (c)   Award Plaintiff damages resulting from Defendants’ infringement in

accordance with 35 U.S.C. § 284;

          (d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

          (e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




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Dated: January 20, 2016                 Respectfully submitted,


                                        /s/ Jay Johnson
                                        JAY JOHNSON
                                        State Bar No. 24067322
                                        D. BRADLEY KIZZIA
                                        State Bar No. 11547550
                                        ANTHONY RICCIARDELLI
                                        State Bar No. 24070493
                                        KIZZIA JOHNSON, PLLC
                                        750 N. St. Paul Street, Suite 1320
                                        Dallas, Texas 75201
                                        (214) 613-3350
                                        Fax: (214) 613-3330
                                        jay@kjpllc.com
                                        bkizzia@kjpllc.com
                                        anthony@brownfoxlaw.com

                                        ATTORNEYS FOR PLAINTIFF


                               CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service
 are being served with a copy of this document via the Court’s CM/ECF system per Local
 Rule CV-5(a)(3) on January 20, 2016.

                                           /s/ Jay Johnson
                                           Jay Johnson




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                                EXHIBIT A




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